                    5:20cvIN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                          CIVIL ACTION NO. 5:20-CV-116-DCK

 ANNA SAWYER,                                          )
                                                       )
                  Plaintiff,                           )
                                                       )
     v.                                                )       ORDER
                                                       )
 WALMART STORES EAST, LP and                           )
 JOHN DOE,                                             )
                                                       )
                  Defendants.                          )
                                                       )

          THIS MATTER IS BEFORE THE COURT on the parties’ “Stipulation To Cap

Plaintiff’s Damages And Remand” (Document No. 11) filed November 3, 2020. This motion has

been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion, the record, and noting agreement

of the parties, the undersigned will direct that this matter be remanded.

          The undersigned observes that the parties agree that the amount in controversy in this

matter does not exceed $74,999.99, and that this matter should be remanded to the Superior Court

of Ashe County, North Carolina.

          IT IS, THEREFORE, ORDERED that the parties’ “Stipulation To Cap Plaintiff’s

Damages And Remand” (Document No. 11) is GRANTED.

          IT IS FURTHER ORDERED that this matter be REMANDED to the Ashe County

General Court of Justice, Superior Court Division, Case No. 20-CVS-203.

                                    Signed: November 5, 2020




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